Case 1:23-cv-00528-TMH           Document 101-1 Filed 09/26/24            Page 1 of 1 PageID #:
                                           1984



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


  WOLFRAM ARNOLD, ERIK FROESE,
  TRACY HAWKINS, JOSEPH KILLIAN,
  LAURA CHAN PYTLARZ, and ANDREW
  SCHLAIKJER,

                         Plaintiffs,               Case No. 1:23-cv-528-JLH-CJB
         v.

  X CORP. f/k/a TWITTER, INC., X
  HOLDINGS CORP. f/k/a X HOLDINGS I,
  INC. and ELON MUSK,

                          Defendants.


                [PROPOSED] ORDER GRANTING UNOPPOSED MOTION
                        FOR LEAVE TO FILE UNDER SEAL

       This ____ day of September, 2024, Plaintiffs having moved for leave to file Exhibit 11 to

its Letter Response (the “Exhibit”) under seal, and the Court having determined that good

grounds exist for the requested relief; now, therefore,

       IT IS HEREBY ORDERED that Defendants’ motion for leave to file Exhibit 11 to its

Letter Response under seal is GRANTED.

       IT IS FURTHER HEREBY ORDERED that Defendants shall file a public version of the

Exhibit, which redact any confidential information, within seven (7) days of filing the Exhibits.



                                              ________________________________
                                              Honorable Christopher J. Burke
                                              United States Magistrate Judge
